Case 1:21-cv-04106-AMD-RER Document 150-4 Filed 10/14/21 Page 1 of 7 PageID #: 3534




                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF NEW YORK

   ---------------------------------------------------------------
   GILEAD SCIENCES, INC., et al.,                                  :
                                                                   :
                                         Plaintiffs,               :   Case No. 21-cv-4106 (AMD) (RER)
                                                                   :
   v.                                                              :
                                                                   :   FILED EX PARTE AND UNDER SEAL
   SAFE CHAIN SOLUTIONS, LLC, et al.,                              :   PURSUANT TO 15 U.S.C. § 1116(d)
                                                                   :   AND COURT ORDER (DKT. NO. 20)
                                         Defendants.               :
   --------------------------------------------------------------

                    [PROPOSED] TEMPORARY RESTRAINING ORDER
              AND ORDER TO SHOW CAUSE FOR A PRELIMINARY INJUNCTION

            Upon review of the Second Amended Complaint of Gilead Sciences, Inc., Gilead Sciences

   Ireland UC, and Gilead Sciences, LLC (together, “Gilead” or “Plaintiffs”), the accompanying

   declarations and the exhibits annexed hereto, and the memorandum of law submitted in support of

   this Order, and for good cause shown, it is hereby:

            ORDERED, that for the reasons set forth in Plaintiffs’ request for entry of a temporary

   restraining order, Plaintiffs’ request be and hereby is GRANTED; and it is further

            ORDERED that, pending further order of this Court, Defendants Paul Rosell; Med-

   Connect Enterprises, LLC; Dhruv Ralhan; D&K Healthcare Solutions LLC; Venkata Srinivas

   Mannava; DSP Consulting Inc.; John Panagiotopoulos; Mike Zangari; Riccardo Massana;

   Streamline RX LLC; Pavan Mantripragada; MFK Management LLC d/b/a Boulevard 9229 & 9229

   Boulevard; Make it Happen Marketing Inc.; Quan Hernandez; Scripts Wholesale Inc.; Steven

   Diamantstein; USDV Pharma LLC; NER250 LLC d/b/a Scripts Wholesale; Jeffrey S. Beetley;

   Maryland Pharmacies Inc. d/b/a The Medicine Shoppe #1802; PrimeRx Inc.; Sekar Venkatesh;

   Omom Pharmaceuticals Inc.; Omom Wholesale Corp.; Gustavo Fernandez; Luis D. Gonzalez



                                                         1
Case 1:21-cv-04106-AMD-RER Document 150-4 Filed 10/14/21 Page 2 of 7 PageID #: 3535




   Herrero; Jordan Rodriguez Mato; Invicta Wholesale Supply LLC; Jorge Caba; RXWholesale.com

   LLC; Gabriel Betesh; Charles Bree; Daniel Gelbinovich; Cesar Castillo Wholesalers LLC f/k/a

   Cesar Castillo LLC; DNS Distributor LLC; Julio Martin Gonzalez; Pharma Pac Wholesale Corp.;

   Angel Toral; Gentek LLC; Edel Reyes; Rapid’s Tex Whole Sales Corp; John Santos; Titan

   Distribution & Services LLC; Tidy Garages L.L.C.; Gabriel Delgado Ramirez; CM

   Pharmaceutical LLC; Jeffrey W. Gafnea; Robert W. Gafnea; JM Smith Distribution Corp.; Carlos

   Hernandez; ASB Wholesale Distributors LLC; Silverline Pharma Logistics LLC; and Alberto

   Alonso Diaz (together, “Defendants”) and their principals, agents, officers, directors, members,

   servants, employees, successors, assigns and all other persons in concert and participation with

   them (collectively, the “Restrained Parties”), shall, upon service of this Order in the manner

   described below, be immediately temporarily restrained from:

                  1.     Purchasing, selling, distributing, marketing, manufacturing, or otherwise

   using any of the Gilead Marks (as defined herein) on any counterfeit or authentic product, or any

   marks confusingly similar thereto in connection with any products. The “Gilead Marks” are

   defined as the following:

    Trademark                       Registration Number             Registration Date
    GILEAD                          3251595                         June 12, 2007
                                    2656314                         December 3, 2002

    GSI                             3890252                         December 14, 2010
    BIKTARVY                        5344455                         November 28, 2017
    DESCOVY                         4876632                         December 29, 2015
    DESCOVY FOR PREP                5912591                         November 19, 2019
    9883                            5467392                         May 15, 2018
                                    5636131                         December 25, 2018




                                               2
Case 1:21-cv-04106-AMD-RER Document 150-4 Filed 10/14/21 Page 3 of 7 PageID #: 3536




                                     5906177                           November 12, 2019

                                     5030567                           August 30, 2016

                                     5154303                           March 7, 2017

    TRUVADA                          2915213                           December 28, 2004
    GENVOYA                          4797730                           August 25, 2015
    ATRIPLA                          3276743                           August 7, 2007
    RANEXA                           3094007                           May 16, 2006
    VOSEVI                           5259592                           August 8, 2017
    STRIBILD                         4263613                           December 25, 2012
                                     6031751                           April 14, 2020

    SOVALDI                          4468665                           January 21, 2014
                                     5018106                           August 9, 2016

    7977                             4585257                           August 12, 2014


                  2.      Using any logo, trade name or trademark confusingly similar to any of the

   Gilead Marks which may be calculated to falsely represent or which has the effect of falsely

   representing that the services or products of any or all of the defendants or of others are sponsored

   by, authorized by or in any way associated with Plaintiffs;

                  3.      Infringing any of the Gilead Marks;

                  5.      Falsely representing any or all of Defendants as being connected with

   Plaintiffs or sponsored by or associated with Plaintiffs or engaging in any act which is likely to

   cause the trade, retailers and/or members of the purchasing public to believe that any or all of

   Defendants are associated with Plaintiffs;

                  6.      Using any reproduction, counterfeit, copy, or colorable imitation of any of

   the Gilead Marks in connection with the publicity, promotion, sale, or advertising of any Gilead

   product;

                                                3
Case 1:21-cv-04106-AMD-RER Document 150-4 Filed 10/14/21 Page 4 of 7 PageID #: 3537




                    7.     Affixing, applying, annexing or using in connection with the sale of any

   goods, a false description or representation including words or other symbols tending to falsely

   describe or represent such goods as being Gilead products, and from offering such goods in

   commerce;

                    8.     Diluting any of the Gilead Marks;

                    9.     Removing from their premises, or discarding, destroying, transferring or

   disposing in any manner any information, computer files, electronic files, WhatsApp or text

   messages, business records (including but not limited to e-mail communications) or other

   documents relating to Defendants’ assets and operations or relating in any way to the purchase,

   sale, manufacture, offer for sale, distribution, negotiation, importation, advertisement, promotion,

   or receipt of any products purporting to be Gilead products, including without limitation any

   products bearing any of the Gilead Marks, including without limitation BIKTARVY® and

   DESCOVY®; and

                    10.    Assisting, aiding or abetting any other person or business entity in engaging

   in or performing any of the activities referred to in subparagraphs (1) through (9) above; and it is

   further

             ORDERED that the temporary restraining order as set forth in subparagraphs 1 through 10

   above shall be in effect for a period of 14 days from the entry hereof, after which it shall expire

   absent further order of the Court; and it is further

             ORDERED that the Restrained Parties shall turn over to Plaintiffs or any person or entity

   designated by Plaintiffs all counterfeit Gilead products in their possession, custody, or control to

   be held by Plaintiffs until further order of this Court; and it is further




                                                  4
Case 1:21-cv-04106-AMD-RER Document 150-4 Filed 10/14/21 Page 5 of 7 PageID #: 3538




          ORDERED that within three business days of the entry of this Order, Plaintiffs post an

   undertaking with the Clerk of the Court in the form of a bond, cash or check in the amount of

   $50,000 as security for the payment of such costs and damages as may be incurred or suffered by

   any party as a result of any undue harm caused by this Order and for the payment of such damages

   as may be incurred or suffered by any party as the result of a wrongful seizure or wrongfully

   attempted seizure pursuant to this Court’s Seizure Order, and that such undertaking, if in the form

   of check or cash, shall be held in an interest-bearing account; and it is further

          ORDERED that service of the Summons and Complaint, Asset Freeze Order, and this

   Order, together with copies of the papers in support thereof, shall be made within four business

   days of the undersigned date on Defendants (but in any event, not in advance of the execution of

   any Seizure Order entered by this Court), by delivering true copies thereof to any person of suitable

   age found at Defendants’ business or home address, or if no such persons are found, then by any

   method permissible under Federal Rule of Civil Procedure 4, or by email to the following email

   addresses:

          •     John Panagiotopoulos: john@mj-healthcare.com, pizma99@gmail.com;

          •     Mike Zangari: mikenzangari@hotmail.com;

          •     Riccardo Massana: rmassana@mrktpharma.com;

          •     Luis D. Gonzalez Herrero and Jordan Rodriguez Mato: invoices@omomrx.com,

                compliance@omomrx.com, sales@omomrx.com, sales@omomwholesale.com;

          •     Julio Martin Gonzalez: juliomartingonzalez70@gmail.com;

          •     Angel Toral: orders@pharmapacwholesale.com;

          •     Gabriel Delgado Ramirez: gabydr94@yahoo.com;

          •     Edel Reyes: sales@gentekusa.com; and


                                                 5
Case 1:21-cv-04106-AMD-RER Document 150-4 Filed 10/14/21 Page 6 of 7 PageID #: 3539




          •   John Santos: john@rapidstex.com;

   and that all future pleadings and filings in this action may also be served on those defendants in

   the manner set forth above; and it is further

          ORDERED that Defendants shall show cause before this Court at Courtroom ______,

   Theodore Roosevelt United State Courthouse, Eastern District of New York, 225 Cadman Plaza

   East, Brooklyn, New York, 11201, on the ___ day of __________________, 2021 at ____ o’clock

   __.m., or such other date as may be fixed by the Court, why a preliminary injunction, pursuant to

   Rule 65 of the Federal Rules of Civil Procedure, should not be issued enjoining Defendants and

   the Restrained Parties in the manner set forth in paragraphs 1-10 of this Order for the duration of

   this litigation and confirming this Court’s seizure order; and it is further

          ORDERED that answering papers, if any, be filed by Defendants with this Court and

   served upon Plaintiffs’ counsel, Geoffrey Potter, by email at

   CounterfeitHIVMedications@pbwt.com on or before the _____ day of __________________,

   2021, and reply papers shall be filed and served on or before the _____ day of

   __________________, 2021; and finally, it is

          ORDERED that Defendants are hereby put on notice that failure to attend the show cause

   hearing scheduled herein shall result in the immediate issuance of the preliminary injunction and

   confirmation of the Court’s seizure order, and that failure of Defendants to respond to the Order

   to Show Cause by the _____ day of __________________, 2021 shall result in the automatic

   issuance of a preliminary injunction, which shall be deemed to take effect immediately and shall

   extend during the pendency of this action. The Restrained Parties shall be deemed to have actual

   notice of the issuance and terms of such preliminary injunction, and that any act by any of the




                                                   6
Case 1:21-cv-04106-AMD-RER Document 150-4 Filed 10/14/21 Page 7 of 7 PageID #: 3540




   Restrained Parties in violation of any of its terms may be considered and prosecuted as contempt

   of this Court.


                                                   UNITED STATES DISTRICT JUDGE

   Issued:          October _____, 2021 at ______ o’clock _____.




                                               7
